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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



JOHN RALEY,                    :
                               :
               Plaintiff,      :                   Civil Action File No.
                               :
     v.                        :
                               :
BLUE BIRD GLOBAL               :                   Jury Trial Demanded
CORPORATION and BLUE BIRD :
BODY COMPANY,                  :
                               :
               Defendants.     :
_______________________________:

                                  COMPLAINT

      COMES NOW Plaintiff, John Raley (“Plaintiff”), by and through counsel

undersigned, and hereby submits his Complaint against Defendant, Blue Bird

Global Corporation, and Defendant, Blue Bird Body Company (collectively

referred to herein as “Defendants”), and shows the Court, as follows:

                                Causes of Action

                                        1.

      Plaintiff’s causes of action arise under the provisions of the Americans With

Disabilities Act, 42 U.S.C. §§ 12101, et seq., (“ADA”), seeking a remedy for

disability-based discrimination and retaliation; under the provisions of the Age

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Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq.,

(“ADEA"), seeking a remedy for age-based discrimination and retaliation.

Plaintiff also brings claims under the provisions of the Family and Medical Leave

Act of 1993, 29 U.S.C. § 2601 et seq. (“FMLA”), seeking a remedy for losing his

job after caring for his daughter who has a serious health condition; and, under the

provisions of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”)

seeking a remedy for unpaid overtime compensation, back pay and front pay. All

of these provisions apply to the circumstances surrounding Plaintiff’s employment

and termination by Defendants.

                         Parties, Jurisdiction and Venue

                                         2.

      At all times relevant to this action, Plaintiff was a resident of the State of

Georgia.

                                         3.

      Defendant, Blue Bird Global Corporation, is a Delaware corporation, doing

business in multiple states. This Defendant’s principal office address is 3920

Arkwright Road, Suite 200, Macon Georgia 31210. Defendant may be served, via

its Registered Agent, Charles Jeffrey Lipfert, located at 202 Central Avenue, Fort

Valley, Georgia 31030.


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                                         4.

      Defendant, Blue Bird Body Company, is a subsidiary of Blue Bird Global

Corporation, doing business in the State of Georgia. This Defendant’s principal

office address is 3920 Arkwright Road, Suite 200, Macon Georgia 31210.

Defendant may be served, via its Registered Agent, Charles Jeffrey Lipfert, located

at 202 Central Avenue, Fort Valley, Georgia 31030.

                                         5.

      At all times relevant herein, Defendants were Plaintiff’s “employers” as that

term is defined under 29 U.S.C. § 630.

                                         6.

      At all times relevant herein, Defendants were employers within the meaning

of FLSA § 203(d) and are not exempt employers under the Act.

                                         7.

      The jurisdiction of this Court is proper pursuant to 28 U.S.C. § 1331.

                                         8.

      Pursuant to 28 U.S.C. § 1391, venue is appropriate in this judicial district as

Defendants are subject to federal law and the U.S.D.C. for the Northern District of

Georgia.




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                                          9.

      All jurisdictional prerequisites to the institution of Plaintiff’s lawsuit have

been fulfilled. Plaintiff filed his initial Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”) within 180 days of the

discriminatory acts; Plaintiff was issued a Notice of Right to Sue from the EEOC;

and, Plaintiff now files this Complaint within 90 days of receipt of said Notice.

Plaintiff’s July 13, 2020 EEOC Charge of Discrimination is attached hereto as

Exhibit A.

                                Factual Allegations

                                          10.

      Plaintiff was hired by Defendants in January of 2011. His title was Senior

Supplier Quality Engineer.

                                          11.

      Throughout his tenure, Plaintiff worked long hours, frequently including

weekends, until 2013 when his twin daughters were born. One of the twins, Ivy,

was born with a genetic brain disorder.

                                          12.

      Thereafter, Plaintiff was forced to take intermittent FMLA in order to assist

in the care of his daughter due to her serious health condition.


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                                         13.

      Through all of this, Plaintiff stayed current with his workload, as he could

perform all of his work responsibilities remotely.

                                         14.

      When COVID-19 hit, one twin, Isabel, developed a fever. The girls’ doctor

advised that the twins should be isolated from each other, as any illness, especially

COVID-19, could be fatal to Ivy. Plaintiff supplied Defendants with a letter from

the girls’ doctor explaining Plaintiff’s need to work from home and to isolate the

twins, and himself.

                                         15.

      Despite Plaintiff’s unavoidable circumstances, as well as the Governor’s

Order to quarantine or isolate, the company COO, Trey Jenkins (“Jenkins”), told

Plaintiff that Plaintiff’s supervisor, Joanne Millar (“Millar”) claimed that Plaintiff

could not perform his duties remotely, and that Plaintiff could either return to work

in the company facility, take unpaid leave, take FMLA, or use his available

vacation time.

                                         16.

      Plaintiff followed the physician’s recommended isolation in his home, via

unpaid leave, for eight weeks. When the end of the quarantine Order was near,


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Isabel’s fever had resolved, and COVID-19 had been ruled out, Plaintiff returned

to work in the company facility on May 26, 2020.

                                        17.

      Before Plaintiff returned to the office, he advised the head of Human

Resources, Felix Lin, that Jenkins had advised Plaintiff that when he returned to

work in the facility, Millar could isolate Plaintiff in the SQE Lab office. Plaintiff

returned to work wearing a mask. However, Millar told him that another employee

was situated in the SQE Lab office. Plaintiff was therefore assigned to the Lab,

and his original cubicle, working side by side with his coworkers (including a new

hire), most of whom were younger than Plaintiff, and all of whom did not wear

masks.

                                        18.

      One week later, at 51 years of age, Plaintiff was told that the company was

“beginning a new footprint” and that he was terminated. The Separation Notice

issued to Plaintiff indicated that the reason for his termination was a reduction in

force (“RIF”), despite the fact that Defendants had just hired a new, younger

person in Plaintiff’s department.     Furthermore, within a few days following

Plaintiff’s termination, Defendants hired yet a second, younger person into the

same position from which Plaintiff had been terminated.


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                                        19.

      From Plaintiff’s date of hire, January 10, 2011, until his termination on June

2, 2020, Plaintiff was told his workday consisted of 10 hours, with 1 hour allotted

for a lunch break, Monday through Friday. Therefore, Plaintiff was working a

minimum of 9 hours each day, i.e., 45 hours each week. Plaintiff often worked

more than 9 hours each day, and occasionally worked on weekends, as well.

Nevertheless, during his entire tenure with Defendants, Plaintiff never received any

compensation whatsoever for the overtime hours he worked.

                                        20.

      Defendants’ failure to compensate Plaintiff for time worked in excess of

forty (40) hours per week is a violation of § 207 of the Fair Labor Standards Act of

1938, as amended.

                                        21.

      Plaintiff’s beginning salary was $55,000.00 per year. At the time of his

termination, Plaintiff’s salary was $72,000.00 per year. Plaintiff was not, and

never was, an exempt employee. At a minimum, he worked a 5 day week, Monday

through Friday. Thus, Plaintiff is entitled to overtime compensation, at the rate of

one and one half times his regular rate of pay (roughly an average of $30.53 per




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hour), i.e., approximately $45.79 per hour, for each and every hour he worked

beyond 40 hours per week, during his entire tenure.

                                        22.

      Despite these facts, Defendants did not pay Plaintiff any overtime

whatsoever during the entire time that he was employed by Defendants.

                                   COUNT I
               (Disability Discrimination and Retaliation - ADA)

                                        23.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding Paragraphs.

                                        24.

      Defendants discriminated and retaliated against Plaintiff because he had

been advised by a health care provider to self-quarantine to prevent potential

exposure of COVID-19 to his disabled child, or himself, and to isolate his

daughters from each other.

                                        25.

      Plaintiff was an excellent employee. He had not broken any company rules,

nor had he acted in any manner to warrant termination.




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                                          26.

      Defendants discriminated and then retaliated against Plaintiff by terminating

him under the guise of a RIF, but actually because of his need to work from home

to care for his immune-compromised, disabled child.

                                          27.

      At the time of the discriminatory acts alleged, Defendants knew or should

have known that the means utilized to discriminate against Plaintiff were

discriminatory and forbidden by law.

                                          28.

      Defendants performed the above described discriminatory and retaliatory

actions willfully, wantonly, intentionally, and in reckless and callous disregard of

Plaintiff’s federally protected rights.

                                   COUNT II
                   (Age Discrimination and Retaliation- ADEA)

                                          29.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding Paragraphs.

                                          30.

      Defendants’ treatment of Plaintiff was motivated by and because of

Plaintiff’s age, which is employment discrimination.

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                                        31.

      Plaintiff was an excellent employee. He had not broken any company rules,

nor had he acted in any manner to warrant termination.

                                        32.

      Defendants discriminated and then retaliated against Plaintiff because of his

age when they hired a younger worker, then terminated Plaintiff under the guise of

a RIF, and then, within a few days of Plaintiff’s termination, hired yet a second,

younger individual to fill Plaintiff’s former position. Plaintiff was 51 years of age

at the time of his termination.

                                        33.

      Defendants discriminated and retaliated against Plaintiff on the basis of age,

in violation of the ADEA.

                                        34.

      At the time of the discriminatory acts alleged, Defendants knew or should

have known that the means utilized to discriminate against Plaintiff were

discriminatory and forbidden by law.




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                                           35.

      Defendants performed the above described discriminatory and retaliatory

actions willfully, wantonly, intentionally, and in reckless and callous disregard of

Plaintiff’s federally protected rights.

                                     COUNT III
                            (Violation of Rights - FMLA)

                                           36.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding Paragraphs.

                                           37.

      Plaintiff had been employed by Defendants for nearly ten years, and was

therefore entitled to up to twelve weeks of FMLA, per year.

                                           38.

      At the time that Plaintiff’s daughter developed a fever, on or about March

24, 2020, Plaintiff had not exhausted his FMLA for the year. Although Plaintiff

had no option but to remain at home to care for his daughters, he hoped to work

from home until the source of his daughter’s fever was determined and the

COVID-19 quarantine Order expired. Plaintiff’s ability to perform his work duties

was not hindered by working remotely from his home. Indeed, he had periodically

worked from home, as necessary, for the previous three years.

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                                        39.

      Despite these facts, on April 5, 2020, Plaintiff was told by Jenkins, that

Millar claimed that Plaintiff’s work could not be accomplished remotely (Millar

had apparently changed Plaintiff’s job description). Plaintiff was advised that he

could return to work in the company’s facility, take unpaid leave, take time under

the FMLA, or take any vacation time that he had available.

                                        40.

      Defendants violated the FMLA by changing Plaintiff’s job description and

by terminating him for taking leave to care for his young daughter.

                                  COUNT IV
             (Claim for Relief - Fair Labor Standards Act - § 207)

                                        41.

      Plaintiff incorporates by reference, as though fully set forth herein, the

allegations contained in the preceding Paragraphs.

                                        42.

      The facts stated above support Plaintiff’s claim for relief under the FLSA.

                                        43.

      Defendants are liable to Plaintiff for compensation for any and all time

worked in excess of forty (40) hours per week at the rate of at least one and one-




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half times Plaintiff’s regular hourly rate, from January 10, 2011 to Plaintiff’s date

of termination, June 2, 2020.

                                          44.

          Defendants’ failure to compensate Plaintiff for time worked in excess of

forty (40) hours per week is a violation of § 207 of the Fair Labor Standards Act of

1938, as amended.

                                          45.

          Defendants knew or should have known that they were obligated to

compensate Plaintiff for all overtime hours he worked in excess of forty (40) hours

per week.

                                          46.

          Defendants performed the above discriminatory actions willfully, wantonly,

intentionally and in reckless and callous disregard of Plaintiff’s federally-protected

rights.

          WHEREFORE, Plaintiff respectfully prays for judgment against the

Defendants, as follows:

          (a)   That Defendants be ordered to formulate, distribute and implement a

                written policy which does not discriminate in any manner which is a

                violation of the ADA, ADEA, FMLA, or FLSA;


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 (b)   That Defendants be ordered to compensate, reimburse, and make

       whole the Plaintiff for all the benefits, he would have received had it

       not been for Defendants’ illegal actions, including but not limited to

       pay, overtime pay, benefits, insurance costs, bonuses, raises, training,

       promotions, and seniority;

 (c)   That Plaintiff recover liquidated damages for Defendants’ willful

       violations of the ADEA and the FLSA;

 (d)   That Plaintiff recover compensatory damages for Defendants’ willful

       violations of the ADA, and the FMLA;

 (e)   That Defendants be ordered to pay Plaintiff back pay in an amount to

       compensate Plaintiff for lost wages;

 (f)   That Defendants be ordered to pay Plaintiff front pay in an amount to

       compensate Plaintiff for the reduction in earnings he sustained;

 (g)   That Plaintiff recover interest on the front and back pay at the legal

       rate;

 (h)   That Plaintiff be awarded punitive damages to punish the Defendants

       for their unlawful actions and violations of the ADEA and the FLSA;

 (i)   That Plaintiff recover costs and expenses of litigation including an

       award of reasonable attorney's fees;


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     (j)   That Plaintiff recover prejudgment interest;

     (k)   That this Court issue an injunction and declaratory judgment that the

           practices complained of are unlawful and void; and

     (l)   For such other and further relief as this Court deems just and proper.

                                  Jury Demand

     Plaintiff hereby demands a trial by jury of all issues in this action.

     Dated this 3rd day of February 2021.

                                       PANKEY & HORLOCK, LLC


                                       By: /s/ Larry A. Pankey            .
                                          Larry A. Pankey
                                          Georgia Bar No. 560725
                                          Attorneys for Plaintiff

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                      CERTIFICATION OF FONT SIZE

       Pursuant to Local rule 5.1C of the Local Rules of the United States District

Court for the Northern District of Georgia, I, Larry A. Pankey, Esq., of Pankey &

Horlock, LLC, attorney for Plaintiff, John Raley, hereby certify that the foregoing

Complaint is typewritten in MS Word using Times New Roman font, fourteen

(14) point type.

      Dated this 3rd day of February 2021.

                                      PANKEY & HORLOCK, LLC


                                      By:       /s/ Larry A. Pankey     .
                                                Larry A. Pankey
                                                Georgia Bar No. 560725
                                                Attorneys for Plaintiff




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